                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


                                                   )
The Cincinnati Insurance Company, et al.           )
                                                   )
v.                                                 )      No. 3:11-cv-1169
                                                   )      Magistrate Judge Griffin
United States Liability Insurance Company          )
                                                   )



                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 3/21/2013.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Dalaina Thompson, Deputy Clerk




     Case 3:11-cv-01169 Document 45 Filed 03/21/13 Page 1 of 1 PageID #: 222
